       Case: 1:18-cv-08540 Document #: 1 Filed: 12/28/18 Page 1 of 14 PageID #:1

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Plaintiff(s)
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                      v.                        Date                                              re


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Defendant(s)                                     JudgeJohn Ll-er^
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 Case: 1:18-cv-08540 Document #: 1 Filed: 12/28/18 Page 3 of 14 PageID #:3



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        Case: 1:18-cv-08540 Document #: 1 Filed: 12/28/18 Page 4 of 14 PageID #:4




          UNITED STATES DISTRICT COURT
         NORTHERN DISTRICT OF ILLINOIS
                 EXHIBIT ROSTER
+++++++++++++++++++++++++++++++++++++++++++++
ITEM #                         DATE:

A)        MEMORANDUM OFJUDGEMENT                 6-10-2016

B)        DENTAL OF LENDERS COMMTTMENT            8-15-2016

c)        VERIFTED AFFTDAVIT OF A.PANKUS          8-1-2016

D)        VERTF|ED AFFTDAVTT 2 OF A.P.ANKUS       9-12-2016

B         PETTilON FOR CHANGE OF VENUE            9-19-2016

R         DENTAL OF CHANGE OF VENUE               10-07-2016

G)        COURT GRANTS SANCTIONS 1of 2

H)      ASSESSES $250 PA|D TNSTANTER 2            1-20-2017

r   )     sANciloN cHEcK $aso       UNGASHED      tn-N17
J)        ORDER TO QUASH SERVTCE AND
          VACATE JUDGEMENI REMOVING
          CLOUD ON FAMILY HOME                     8-26-2016

K)        APPROVAL OF TELECONFERENCE               8-19-2016
          ADA APPROVAL

L)        ELDERLY EXPLOTTATTON
         (HB 1588/PA99-O2721                       9-16-2016

M)        EQUITY APPLTCATTON REQUTRES               9-21-zJ16
          JUDGEMENT REMOVAL TO
          CONCLUDE LOAN APPROVAL

N)        AFFTDAVTT OF DAMAGES PURSUANT             10-7-2016
          TO ILCR RULE ?22(Bl
                         Case: 1:18-cv-08540 Document #: 1 Filed: 12/28/18 Page 5 of 14 PageID #:5

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                                             MEMORANDUM OF JI'DGMENT


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         in favor of the plaintilf



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    rith us after flnding out that there ras a judguent placed
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    the loan untLl thie judguent ls taken off of hts title york.
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                     Case: 1:18-cv-08540 Document #: 1 Filed: 12/28/18 Page 8 of 14 PageID #:8


                 t/                          Affidavit of Algis Peter Ankus
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            STATE OF INDIANA
            COLINTY OF PORTER                                                         ccpY
-or^-
            The undersigned, AIGIS PETER ANKUS, beirg duly sworn, hereby deposes and says:
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-l!"
-c\t-           1.   I am over      of 18 and arn a resident of the Sate of Indiana.I have personal
                                 the age
                knowledge of the facts hereiq and, if called as a witness, could testiff completely ttrereto.

                2.   I suffer no legal disabilities   and have personal knowledge of the facts set forth below.


                3.1 am the victim of identity theft, by a Pro SE plaintiffigaoring Rule 4 and Rule 11 of
                Federal Rules of Civil Procedure. Pro SE Litigant embarked on a fishing
                expedition, attempting to furd persons with names similar to the individual he was seeking,
                without proper discovery or notice being provided to Affiant, who lives in Indiana. Affiant first
                received'notice' when he received a letter from Porter County Recorder Jon C. Miller with
                copy of Judgement entered by Judge Padcia S.Spratt, Crook County Circuit Court Room
                2146...entered on June 10, 2016, recorded on Jure 13,2016 against my Family Home in
                Beverly Shores Indiana. On July 29,2016 affiant appeared in Judge Gerald Vernon Cleary
                III in courtroom 1104 on my verified Motion to Vacate based on Identity Theft, in securing
                an illegal judgement upon me and our Family Home in Indiana. After waiting for plaintiffto
                 apper until ttre end of call....at which plaintitrfailed to appear...Judge Cleary asked for the
                original 2006 court file...despite my requesting that the file be sent to courffoom 1104, it was
                not delivered... Judge Cleary remanded the hearing to August 19,2016, with notice one again
                being afforded to the non compliant plaintiffwith copy of this affidavit......
                As a permanentiy disabled individual, verified under ttre ADA, I returned to the file desk and
                asked where the file was and why it was not sent as originaily requested. The file was instantly
                found, lying on a cabinet. The file was hand carried at my insistance to courfroom 1104,
                Where Judge Cleary kindly consented to review the fiie, which clearly exhibited that I was not
                the defendant in question.... and was NEVERNOTICED!!!! As a disabled individual l feel
                that I was denied due process after proving up my Motion to Vacate, due to the file not being
                accessible to the Court during the hearing.
                Due to the aforementioned circumstances, I Algis Peter Ankus RPH 15 year resident of
                Porter County Indiana, should not be compelied to once agatn appeff io *y defense, after
                presenting compelling , confirming evidence for legally vacating this judgement.
Case: 1:18-cv-08540 Document #: 1 Filed: 12/28/18 Page 9 of 14 PageID #:9




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               Case: 1:18-cv-08540 Document #: 1 Filed: 12/28/18 Page 10 of 14 PageID #:10

  From   :   Ocl Accommodations oci.accommodations @cookcountyil gov
Subject: FW: Your ADA Accornmodation    Teleconfererrce Appearance / Gourt's Legal SeMces Directory
  Date: Today al1226PM
    To: Al Ankus aankus@aol,com

Mr. Ankus,


The email below is the one I sent confirming that Judge Spratt approved a
teleconference appearance for you on August 19, 2016, as an ADA accommodation.


Regards,


Milissa Pacelli
Court Disability Coordinator
Office of Accessibility & Education Outreach (OAEO)
Office of the Chief Judge
Circuit Court of Cook County
Oqj. accom modations@cookcou ntyi                    l.   gov
312.603.1915
312.603.1914 (TruTDD)
312.603. 1e2e (FAX)
From: Ocj Accommodations (Accessibility and Education Outreach)
Sent: Thursday, August 18, 2016 4:32 PM
To: Algis'
Subiect: Your ADA Accommodation Teleconference Appearance / Court's Legal Services Directory


Dear Mr. Ankus,


As you are aware, Judge Spratt has approved a teleconference appearance for you as
an ADA accommodation, for your court date tomorrow, Friday, August 19, 2016.


Judge Spratt will call your phone number of record ,219.874.2519, sometime after 2:00
p.m., please be available for that phone call.


Your appearance by phone as an ADA accommodation is approved for tomorrow's court
date only. Any additional court dates will be decided by the judge on a case by case
basis.
   Case: 1:18-cv-08540 Document #: 1 Filed: 12/28/18 Page 11 of 14 PageID #:11
    ALGISPAIIKUS,-,, . :..,
    Elderly exploitation CMI Action
    Septanber 16, 2016 at 7:20 AM
    ALGIS PANKUS : ,, .,



Elderly Exploitation Civil Action (HB 1588/PA 99-0272 - Sen.
Jason Barickman): Changes the civil liability provisiofr of
financial exploitation of an elderly person or a person with a
disability to allow for a civil cause of action regardless of
whether criminal charges have been filed. Civil liability provision
does not limit or affect the right of a person to bring a cause of
action or seek any remedy available under the common law, or
other applicable law.




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        .      JON   C.
        RECORDER OF PORTER
                          MILLER
                           COUNTY
             I55 INDIAHA     AVENUE          ]UIT COURT               OF'   COOK COUNTY, ILLINOIS
            VALPARAiSO,     II{   46383
               (219) 465_3465                                                                          2016-0272Zs
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Atty. for:



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Telephone:
  Case: 1:18-cv-08540 Document #: 1 Filed: 12/28/18 Page 13 of 14 PageID #:13




     IN THE CIRCUIT COURT OF COOK COUNTY
                                ILLINOIS

       AFFIDAVIT REGARDING DAMAGES SOUGHT
                THROUGH NEGLIGENCE
            PERSUANT TO ILCR RULE 222(bl

The undersigned ALGIS PETER ANKUS being duly sworn, hereby
deposes and states.
I have personal knowledge of the facts herein, and if called as a
witness, could testify completely thereto.
                      COURT COSTS
       BILL OF COSTS FOR THE FOLLOWING CASE NO'S
                    06 Ml 179422 as Defendant
                     16 Ml 117797 as Plaintiff

A)   PORTER COUNTY RECORDER RECORDTNG FEES
     8IO4I2O1 6 AFFIDAVIT RECORDED$1 5.OO
     8t04t2016 PAYGOV $15.00
     812612016 JUDGEMENT ORDER ATTACHING DEED
     VACATED $11.00
     7t29t2016 COPTES $6.00
B)   7129t2016 FtLtNG FEE CASE # 20161117797 $282.87
     9to3t2o16 COPY FEE $3.90
     9t2712O16 COPY FEE $4.50
     9t19t2016 PoSTAGE $3.tt
     9t17t2016 POSTAGE$ $4.60
     9121120rc ELECTRONIC PRINTING FEE $0.+O

     THESE COSTS ARE NOT FINAL...
     SEE BELOW              CURRENT TOTAL $346.44


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      Case: 1:18-cv-08540 Document #: 1 Filed: 12/28/18 Page 14 of 14 PageID #:14



  SOME COSTS ARE NOT YET AVAILABLE FROM DEBIT CARD
  ISSUERS

  COSTS          OF TOLL BRIDGE @ 4.50 EACH WAY
  COSTS          OF PARKING
  COSTS          OF ACCOMMODAT]ON
  COSTS          OF MEDICATION

  PLAINTIFF PRAYS THAT THE COURT PROVIDES FOR
  RELIEF SOUGHT BY PLAINTIFF, FOR DEFENDANT'S
  NEGLIGENqE

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                                   NOTARY AGKNOWLEDG EM ENT

  STATE OF INDIANA, PORTER COUNTY

  This Affidavit of Costs and damages for above referenced
  Actions was acknowledged before me on this l*day of
  October, 2016.
  by Algis Peter Ankus, who, being first duly sworn on oath
  according to Law, deposes and says that he has read the
  foregoing Affidavit of Costs and Damages, subscribed by
  him,
  and that the matters stated herein are true to the best of his
  information, knowledge and belief.

  Notary Public                                    Title

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